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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

DALLAS COUNTY HOSPITAL                    §
DISTRICT, d/b/a PARKLAND                  §
HEALTH & HOSPITAL SYSTEM,                 §
                                          §
                Plaintiff,                §
                                          § Civil Action No. 3:15-cv-04063-B
         v.                               §
                                          §
NEXTGEN HEALTHCARE                        §
INFORMATION SYSTEMS, LLC,                 §
                                          §
                Defendant.                §

                                STIPULATION OF DISMISSAL

         The parties to this lawsuit file this Stipulation of Dismissal pursuant to Rule 41 of the

FEDERAL RULES OF CIVIL PROCEDURE. Plaintiff filed this suit against Defendant. Defendant filed

counterclaims against Plaintiff. The parties have reached a settlement, and the parties now move

to dismiss all of their claims asserted against each other WITH PREJUDICE pursuant to their

settlement agreement. Each party has agreed to pay its own litigation costs, including but not

limited to attorneys’ fees.

June 2, 2017.
                                                 By: /s/ Linda R. Stahl
                                                    E. Leon Carter
                                                    Texas Bar No. 03914300
                                                    lcarter@carterscholer.com
                                                    Linda R. Stahl
                                                    Texas Bar No. 00798525
                                                    lstahl@carterscholer.com
                                                    CARTER SCHOLER PLLC
                                                    8150 N. Central Expressway
                                                    Suite 500
                                                    Dallas, Texas 75206
                                                    T: 214.550.8188 | F: 214.550.8185

                                                      ATTORNEYS FOR PLAINTIFF

                                                      and




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                                                   COBB MARTINEZ WOODWARD PLLC
                                                   1700 Pacific Avenue, Suite 3100
                                                   Dallas, Texas 75201
                                                   (214) 220-5200 Telephone
                                                   (214) 220-5299 Facsimile

                                                  By: /s/ Jeffrey I. Nicodemus
                                                      JEFFREY I. NICODEMUS
                                                      Texas Bar. No. 24007748
                                                      email: jnicodemus@cobbmartinez.com
                                                      MATTHEW E. LAST
                                                      Texas Bar No. 24054910
                                                      email: mlast@cobbmartinez.com

                                                   ATTORNEYS FOR DEFENDANT
                                                   NEXTGEN HEALTHCARE
                                                   INFORMATION SYSTEMS, LLC



                                  CERTIFICATE OF SERVICE


       The undersigned certifies that on the 2nd day of June, 2017, a true and correct copy of the

foregoing document was served on all counsel of record by either e-service, first class mail, certified

mail, facsimile and/or email.

                                                              /s/ Matthew E. Last
                                                              MATTHEW E. LAST




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